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Supreme Court of California

JORGE E. NAVARRETE
Clerk and Executive Officer of the Supreme Court

CERTIFICATE OF THE CLERK OF THE SUPREME COURT

OF THE

STATE OF CALIFORNIA

SEAN PHILLIPS RODRIGUEZ

I, JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
California, do hereby certify SEAN PHILLIPS RODRIGUEZ, #262437, was on the 24th
day of February, 2009 duly admitted to practice as an attorney and counselor at law in all
the courts of this state, and is now listed on the Roll of Attorneys as a member of the bar
of this state in good standing.

Witness my hand and the seal of the court
on this day of September 13", 2021,

JORGE E. NAVARRETE
Clerk/Executive Officer of the Supreme Court

By: 7 /

Floreritino Jimenez, Assiktant Deputy Clerk

